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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DOMINGO COLON MONTANEZ             :          CIVIL ACTION
                                   :
          v.                       :
                                   :
HARRY EDWARD WILSON, et al.        :          NO. 07-1200


                                 ORDER


          AND NOW, this 5th day of November, 2007, it is hereby

ORDERED that:

          (1)    the August 30, 2007 Report and Recommendation of

the Magistrate Judge is ADOPTED;

          (2)    the petition of Domingo Colon Montanez for relief

under 28 U.S.C. § 2254 is DISMISSED; and

          (3)    no certificate of appealability is issued.

                                         BY THE COURT:



                                         /s/ Harvey Bartle III
                                                                     C.J.
